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                                                  State of New Jersey
PHILIP D. MURPHY                               OFFICE OF THE ATTORNEY GENERAL                                      MATTHEW J. PLATKIN
    Governor                                 DEPARTMENT OF LAW AND PUBLIC SAFETY                                     Attorney General
                                                       DIVISION OF LAW
SHEILA Y. OLIVER                                          25 MARKET STREET                                         MICHAEL T.G. LONG
   Lt. Governor                                                 PO Box                                                  Director
                                                        TRENTON, NJ 08625-0


                                                  November 18, 2022


       VIA CM/ECF
       Hon. Peter G. Sheridan
       United States District Judge
       District of New Jersey
       402 East State Street
       Trenton, New Jersey 08608


                  Re:    Association Of New Jersey Rifle & Pistol Clubs,
                         Inc. et al. v. Platkin et al.
                         Docket No. 3:18-cv-10507
                         Cheeseman et al. v. Platkin et al.
                         Docket No. 1:22-cv-04360
                         Ellman et al. v. Platkin et al.
                         Docket No. 3:22-cv-04397

       Dear Judge Sheridan:


                  This office represents Defendants Matthew J. Platkin and
       Patrick J. Callahan (“State Defendants”) in the three above-
       captioned matters.                 Pursuant to L. Civ. R. 42.1 and Fed. R. Civ.
       P. 42(a), State Defendants hereby move to consolidate the three
       cases.           Please find enclosed the following documents:

                          (1)    State Defendants’ Notice of Motion;

                          (2)    Certificate of Service of Stuart M. Feinblatt;

                          (3)    Brief in Support of State Defendants’ Motion to
                                 Consolidate, and Exhibits; and



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              (4)   State Defendants’ Proposed Form of Order

        The above documents have been electronically filed with the
  Clerk of the Court on November 18, 2022 in support of State
  Defendants’ Motion to Consolidate.


                               Sincerely yours,

                               MATTHEW J. PLATKIN
                               ATTORNEY GENERAL OF NEW JERSEY



                               By: _/s/ Stuart M. Feinblatt__
                                   Stuart M. Feinblatt
                                   Assistant Attorney General

  Enclosures


  cc: all counsel of record (via CM/ECF)
